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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      OCALA DIVISION


   CARLA DEMPSEY,

                  Plaintiff,

   v.                                                     Case No. 5:17-cv-272-Oc-34PRL

   REGIONS BANK,

                  Defendant.



                                 ORDER OF DISMISSAL

          THIS CAUSE is before the Court on the Joint Stipulation for Voluntary Dismissal

   With Prejudice (Dkt. No. 15; Stipulation) filed on March 5, 2018. In the Stipulation, the

   parties request dismissal of this matter with prejudice. See Stipulation at 1. Accordingly,

   it is hereby

          ORDERED:

          1.      This case is DISMISSED with prejudice.

          2.      Each party shall bear its own costs and attorneys’ fees except as provided

                  in the parties’ Agreement of Settlement and Release.

          3.      The Clerk of the Court is directed to terminate all pending motions and close

                  the file.

          DONE AND ORDERED in Chambers this 6th day of March, 2018.
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   Copies to:

   Counsel of Record




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